Case 14-69570-lrc   Doc 80   Filed 08/01/17 Entered 08/01/17 11:40:42   Desc Main
                             Document      Page 1 of 11
Case 14-69570-lrc   Doc 80   Filed 08/01/17 Entered 08/01/17 11:40:42   Desc Main
                             Document      Page 2 of 11
Case 14-69570-lrc   Doc 80   Filed 08/01/17 Entered 08/01/17 11:40:42   Desc Main
                             Document      Page 3 of 11
Case 14-69570-lrc   Doc 80   Filed 08/01/17 Entered 08/01/17 11:40:42   Desc Main
                             Document      Page 4 of 11
Case 14-69570-lrc   Doc 80   Filed 08/01/17 Entered 08/01/17 11:40:42   Desc Main
                             Document      Page 5 of 11
Case 14-69570-lrc   Doc 80   Filed 08/01/17 Entered 08/01/17 11:40:42   Desc Main
                             Document      Page 6 of 11
Case 14-69570-lrc   Doc 80   Filed 08/01/17 Entered 08/01/17 11:40:42   Desc Main
                             Document      Page 7 of 11
Case 14-69570-lrc   Doc 80   Filed 08/01/17 Entered 08/01/17 11:40:42   Desc Main
                             Document      Page 8 of 11
Case 14-69570-lrc   Doc 80   Filed 08/01/17 Entered 08/01/17 11:40:42   Desc Main
                             Document      Page 9 of 11
Case 14-69570-lrc   Doc 80   Filed 08/01/17 Entered 08/01/17 11:40:42   Desc Main
                             Document     Page 10 of 11
Case 14-69570-lrc   Doc 80   Filed 08/01/17 Entered 08/01/17 11:40:42   Desc Main
                             Document     Page 11 of 11
